      Case 1:21-cr-00639-DLF Document 59 Filed 12/02/23 Page 1 of 3




                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )      Case No. 21-cr-00639-DLF
                                 )
ANTHONY SARGENT,                 )
                                 )
                                 )
               Defendant         )
                                 )



     DEFENDANT ANTHONY SARGENT’S ERRATA SUPPLEMENTAL
                  SENTENCING STATEMENT


                                       William L. Shipley
                                       PO Box 745
                                       Kailua, Hawaii 96734
                                       Tel: (808) 228-1341
                                       Email: 808Shipleylaw@gmail.com
                                       Attorney for Defendant
        Case 1:21-cr-00639-DLF Document 59 Filed 12/02/23 Page 2 of 3




      Comes now Defendant Anthony Sargent, by and through his counsel of

record William L. Shipley, and submits this errata to the supplemental

sentencing statement filed on December 1, 2023.

      In Defendant Sargent’s supplemental sentencing statement, there was an

incorrect reference to Judge Nichols—such reference is listed below.

      There was much discussion at the first hearing about the nature of the

item that was thrown at the window by Mr. Sargent. Mr. Sargent has never

denied that he thought it was an item that was capable of breaking the glass

window. When the specific question was posed to him by Judge Nichols during

the plea colloquy, Judge Nichols referenced a “heavy rock-like object.” Mr.

Sargent’s answer was “I’m not sure I would call it heavy.” He also said that he

isn’t sure exactly what the object was, as it was simply an object on the ground

he picked up and threw.

      In this instance, Defendant Sargent intended to reference Judge

McFadden, not Judge Nichols.

      Further, the following passage should be ignored by this Court as Judge

Nichols was not the judge who handled Defendant Sargent’s change of plea.

      So far as counsel is aware, only Judge Nichols has taken the position

that a conviction for violating Section 1752(a)(4) is an offense for which remand

into custody is appropriate. It is worth noting that Judge Nichols took the

guilty plea in this case but did not remand Mr. Sargent into custody at that

time. He was aware of both the counts of conviction and the facts as admitted

by Mr. Sargent in his plea colloquy – both in writing and as stated orally by Mr.

Sargent.
       Case 1:21-cr-00639-DLF Document 59 Filed 12/02/23 Page 3 of 3




Date: December 1, 2023                  Respectfully Submitted,

                                        /s/ William L. Shipley
                                        William L. Shipley
                                        PO Box 745
                                        Kailua, Hawaii 96734
                                        Tel: (808) 228-1341
                                        Email: 808Shipleylaw@gmail.com

                                        Attorney for Defendants
